
Whitaker, Judge,
delivered the opinion of the court:
Defendant in its motion says we failed to pass on its defense of the inadequacy of the claim for refund as a predicate for its present suit. We noted this defense but we overlooked mentioning it, because we thought it was clearly without merit.
Now that we have been asked to pass on it, we take the occasion to make a few brief comments on this defense in general.
Attorneys for the Government frequently ask us to apply to claims for refund a requirement of particularity almost as strict as is customarily applied to indictments for crime.1 The rule of strictissimi juris is not applicable to claims for refund. All that is required of them, as a predicate for suit in this court is that they put the Commissioner of Internal Eevenue on notice of the ground of the taxpayer’s claim that his taxes were erroneously computed. This does not have to be stated with any greater particularity than is necessary to draw the Commissioner’s attention to the claim he makes in his subsequent suit.
Here the taxpayer claimed its taxes had been erroneously assessed because “of failure to allow the proper net operating loss deduction.” This made it necessary for the Commissioner to determine “the proper net operating loss deduction.” In making this determination he was obliged to consider the amount by which the 1946 loss exceeded the net *224income for 1944, in order to determine what taxpayer was entitled to apply against its 1945 net income. This and the proper computation of excess profits taxes for 1944, which also was necessary in computing the “proper net operating loss deduction,” were the questions presented by plaintiff’s petition in this court.
We think the claim for refund was sufficient to cause the Commissioner to consider the matters which are the basis of the present suit. See Landers, Frary &amp; Clark v. United States, 137 C. Cls. 870.
Defendant’s motion for reconsideration is denied.
It is so ordered.
Laramore, Judge; MaddeN, Judge; Littleton, Judge; and Jones, Chief Judge, concur.

 We intend no criticism of Government counsel in this case. The Court has long admired her for her legal acumen, her fidelity to her client, and her candor in the presentation of her cases.

